                                                                                                                                                                      20+
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                                                                            Audrey Burns
                                                                                         105 friends


                                                                            Add friend            Message



  Posts       About        Friends      Photos        Videos       Check-ins     More



  Intro                                                                          Posts                                                                               Filters

        Lives in Moore, Oklahoma
                                                                                           Audrey Burns
                                                                                           December 30, 2024 at 9:54 AM ·

  Photos                                                   See all photos        Here it is!




                                                                                 NYTIMES.COM
                                                                                 The Men Who Use Instagram to Groom Child Influencers
                                                                                 Photographers and other men offer to build online followings for young girls, but some ar…

                                                                                             11                                                                  6 comments

                                                                                                   Like                     Comment                          Share
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                                                                                 View more comments
                                                                                                                     20+
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                                 Wendy Woodard Nitzel
                                 I am so sorry this happened in your life. This should of never happened and
                                 don't ever think this was your fault in anyways. You are loved by us. Your church
                                 family. And Jesus will never stop living you.This will help you and older woman.
                                 God has speci… See more

                                 4d    Like     Reply


                                 Comment as Peter E. Brill

                                Audrey Burns
                                December 14, 2024 at 5:04 PM ·

                          I’m not the same person I was a month ago. I’m not the same person I was a year ago. We
                          are forever evolving.   forever is a long time. I am blessed




                                  16                                                                          1 comment

                                              Like                    Comment                            Share

                                 Connie Hale Smith
                                 Sending hugs!! Do proud of you.
                                 3w    Like     Reply


                                 Comment as Peter E. Brill



                                Audrey Burns updated their cover photo.
                                November 15, 2024 ·
                                                                                   20+
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                              10                                                1 comment

                                                               Share


                              Wendy Woodard Nitzel
                              Great picture
                              7w
                                                                       20+
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                                                                       20+
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